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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

IGNACIO VILCHEL                             :
     Plaintiff,                             :
                                            :       PRISONER CASE NO.
       v.                                   :       3:07-cv-1344 (JCH)
                                            :
STATE OF CONNECTICUT, ET AL.1               :
     Defendants.                            :       DECEMBER 10, 2008

                             RULING ON PENDING MOTIONS

       The plaintiff has filed this civil rights action pro se and in forma pauperis,

pursuant to 28 U.S.C. § 1915. He claims that the defendants, members of the Hartford

Police Department, falsely arrested him, used excessive force during the arrest, and

maliciously prosecuted him. Pending is a Motion to Dismiss brought by the defendants.

For the reasons that follow, that Motion [Doc. No. 11] is GRANTED.

I.     STANDARD OF REVIEW

       In deciding a motion to dismiss, the court accepts the allegations of the

complaint as true and construes them in a manner favorable to the pleader. Hoover v.

Ronwin, 466 U.S. 558, 587 (1984); Grandon v. Merrill Lynch & Co., 147 F.3d 184, 188

(2d Cir. 1998). The court must draw all reasonable inferences in the plaintiff’s favor.

See, e.g., Yung v. Lee, 432 F.3d 132, 146 (2d Cir. 2005) (discussing Rule 12(b)(6)

motion to dismiss); Lunney v. United States, 319 F.3d 550, 554 (2d Cir. 2003) (internal

citations omitted) (discussing Rule 12(b)(1) motion to dismiss). The court must


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          The State of Connecticut, the Hartford Police Department, Chief of the Hartford Police
Department Patrick J. Harnett, Detectives Ramon Baez, Nestor Carballo, Gregory Gorr, Curtis
Lollar, Winston Brooks, Mark Fowler, Claudette Kosinski and Roland Gagnon are named as
defendants. On January 17, 2008, the court dismissed the claims against the State of
Connecticut and the Hartford Police Department, pursuant to 28 U.S.C. 1915(e)(2)(B)(i). The
claims against defendants Harnett, Baez, Carballo, Gorr, Lollar, Brooks, Fowler, Kosinski and
Gagnon remain.
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construe pro se pleadings “broadly, and interpret them to raise the strongest arguments

that they suggest.” Cruz v. Gomez, 202 F.3d 593, 597 (2d Cir. 2000).

       A motion to dismiss for failure to state a claim, pursuant to Rule 12(b)(6), tests

only the adequacy of the complaint. United States v. City of N.Y., 359 F.3d 83, 87 (2d

Cir. 2004). In deciding a motion to dismiss, “[t]he issue is not whether a plaintiff will

ultimately prevail but whether the claimant is entitled to offer evidence to support the

claims.” Bernheim v. Litt, 79 F.3d 318, 321 (2d Cir. 1996) (internal quotations omitted).

However, “[w]hile a complaint attacked by a Rule 12(b)(6) motion to dismiss does not

need detailed factual allegations, a plaintiff’s obligation to provide the grounds of his

entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Bell Atlantic Corp. v.

Twombly, 127 S.Ct. 1955, 1964-5 (2007).

II.    BACKGROUND

       Keeping this standard in mind, the court accepts the following allegations set

forth in the Complaint as true. On March 20, 2003, pursuant to an arrest warrant

containing false information, Hartford Police Detectives Baez, Carballo, Gorr, Lollar,

Brooks, Fowler, Koskinski, and Gagnon broke down the door to plaintiff’s home and

arrested him. During the arrest, Detective Baez shot plaintiff more than three times.

After plaintiff’s arrest, the defendants issued false reports, fabricated and tampered with

evidence, withheld crime scene photographs, and fabricated search warrants. Chief of

Police Harnett issued an inaccurate firearms report and failed to supervise the

detectives involved in the arrest. All of the defendants offered false testimony at trial.

Plaintiff was subsequently convicted and sentenced to twenty years imprisonment.

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       In connection with plaintiff’s arrest, the defendants seized a portable safe

containing $4,500 in cash and some jewelry, and transported the safe to the Hartford

Police Station. The cash and jewelry were subsequently stolen from the safe.

III.   DISCUSSION

       The defendants argue that the false arrest and excessive force claims against

them are barred by the statute of limitations, and that the claim of malicious prosecution

fails to state a claim upon which relief may be granted.

       A. False Arrest and Excessive Force Claims

       The defendants contend that Connecticut’s three-year statute of limitations,

applicable to claims brought pursuant to 42 U.S.C. § 1983, bars plaintiff’s false arrest

and excessive force claims. In Connecticut, the general three-year statute of limitations

for personal injury claims, set forth in Connecticut General Statutes § 52-577, has

uniformly been found applicable to federal civil rights actions. See Lounsbury v.

Jeffries, 25 F.3d 131, 134 (2d Cir. 1994) (applying Connecticut’s three year statute of

limitations to actions brought pursuant to 42 U.S.C. § 1983).

       Although the federal court looks to state law to determine the applicable statute

of limitations for claims arising under section 1983, the court looks to federal law to

determine when a federal claim accrues. See Wallace v. Kato, 127 S. Ct. 1091, 1095

(2007) (“While we have never stated so expressly, the accrual date of a § 1983 cause

of action is a question of federal law that is not resolved by reference to state law.”)

Under federal law, “a cause of action generally accrues ‘when the plaintiff knows or has

reason to know of the injury that is the basis of the action.’” M.D. v. Southington Bd. of

Educ., 334 F.3d 217, 221 (2d Cir. 2003) (quoting Leon v. Murphy, 988 F.2d 303, 309

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(2d Cir. 1993)). With respect to false arrest claims, the Supreme Court held in Wallace

that, “the statute of limitations upon a § 1983 claim seeking damages for a false arrest

in violation of the Fourth Amendment, where the arrest is followed by criminal

proceedings, begins to run at the time the claimant becomes detained pursuant to legal

process.” Wallace, 127 S. Ct. at 1100.

       Plaintiff alleges that he was arrested on March 20, 2003. Documents attached to

the plaintiff’s Complaint reveal that plaintiff was arraigned as of March 27, 2003. See

Compl., Ex. A at 5. Thus, plaintiff had until March 27, 2006, at the latest, to file a

complaint asserting a claim of false arrest.

       Plaintiff’s claim of excessive force accrued when plaintiff “knew of his injury

arising from the alleged assault.” Singleton v. City of New York, 632 F.2d 185, 191 (2d

Cir. 1980) (noting that federal law “establishes as the time of accrual that point in time

when the plaintiff knows or has reason to know of the injury which is the basis of his

action”).

       Plaintiff claims that he was shot by Detective Baez more than three times on

March 20, 2003. Consequently, his claim of excessive force accrued on March 20,

2003, when he knew of his injuries due to the gunshot wounds, and he had until March

20, 2006, to file a complaint asserting this claim.

       When considering a case filed by a prisoner, the courts consider a complaint to

have been filed as of the date the inmate gives the complaint to prison officials to be

mailed to the court. See Dory v. Ryan, 999 F.2d 679, 682 (2d Cir. 1993) (holding that a

pro se prisoner complaint is deemed filed as of the date the prisoner gives the

complaint to prison officials to be forwarded to the court) (citing Houston v. Lack, 487

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U.S. 266, 270 (1988)).

       Plaintiff did not date his Complaint. His In Forma Pauperis Application, which

accompanied the Complaint, is dated August 27, 2007. Thus, the court considers

August 27, 2007 to be the date the plaintiff presumably handed his Complaint and In

Forma Pauperis Application to prison officials for mailing to the court. See Dory v.

Ryan, 999 F.2d 679, 682 (2d Cir. 1993) (citing Houston v. Lack, 487 U.S. 266, 270

(1988)). Even applying the prison mailbox rule, both the excessive force and false

arrest claims were filed over sixteen months late. Consequently, the Motion to Dismiss

is granted on the ground that the excessive force and false arrest claims are barred by

the statute of limitations.

       B. Malicious Prosecution Claim

       The defendants argue that plaintiff’s malicious prosecution claim fails because

plaintiff was convicted of the charges filed against him in connection with his arrest on

March 20, 2003. The court agrees.

       “To prevail on a claim of malicious prosecution, four elements must be shown:

(1) the defendant initiated a prosecution against the plaintiff, (2) without probable cause

to believe the proceeding can succeed, (3) the proceeding was begun with malice, and

(4) the matter terminated in plaintiff’s favor.” Ricciuti v. New York City Transit Auth.,

124 F.3d 123, 130 (2d Cir. 1997). Here, plaintiff concedes that he was convicted and

that his conviction is now on appeal. Thus, the criminal matter has not terminated in his

favor. The Motion to Dismiss the malicious prosecution claim is granted.

       C. Property and State Law Claims

       Plaintiff claims the defendants broke into his home and robbed him. Attached to

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his Complaint are two newspaper articles regarding property in a safe that defendants

seized in connection with his arrest. Someone later stole that property from the police

station. A copy of a citizen’s complaint filed by plaintiff’s wife, attached to the Complaint

as Exhibit A, indicates that the property and cash in the safe belonged to plaintiff’s wife.

Plaintiff cannot assert claims on behalf of other individuals. See Singleton v. Wulff,

428 U.S. 106, 114 (1976) (“Ordinarily, one may not claim standing in this Court to

vindicate the constitutional rights of some third party”) (citations and internal quotation

omitted); Golden Hill Paugussett Tribe of Indians v. Weicker, 39 F.3d 51, 58 (2d Cir.

1994) (standing requires that “plaintiff assert its own legal rights, and not those of third

parties”). Plaintiff’s wife is not a party to this action. Accordingly, any claim that

plaintiff’s wife might have regarding the money and jewelry allegedly stolen from the

safe after it had been seized from plaintiff’s home is not cognizable and is dismissed.

See 28 U.S.C. § 1915(e)(2)(B)(ii) (directing the court to dismiss at any time a claim

upon which relief may not be granted).

       The plaintiff asserts that the defendants violated various Connecticut statutes.

Supplemental or pendent jurisdiction is a matter of discretion, not of right. See United

Mine Workers v. Gibbs, 383 U.S. 715, 715-26 (1966). Where all federal claims have

been dismissed before trial, pendent state claims should be dismissed without prejudice

and left for resolution by the state courts. See 28 U.S.C. § 1367(c)(3); Giordano v. City

of New York, 274 F.3d 740, 754 (2d Cir. 2001) (collecting cases). Because the court

has dismissed all of plaintiff’s federal law claims, it will not exercise supplemental

jurisdiction over any state law claims.



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IV.   CONCLUSION

      Defendants’ Motion to Dismiss [Doc. No. 11] is GRANTED as to plaintiff’s claims

of false arrest, malicious prosecution, and excessive force. The claim that jewelry and

money belonging to plaintiff’s wife was stolen or lost by the defendants is DISMISSED,

pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii). The court declines to exercise jurisdiction

over any state law claims. The defendants’ Motion for Extension of Time [Doc. No. 19]

to file a motion for summary judgment and plaintiff’s Motion seeking the appointment of

counsel for trial [Doc. No. 18] are DENIED as moot.

SO ORDERED.

      Dated this 10th day of December, 2008, at Bridgeport, Connecticut.




                                          /s/ Janet C. Hall
                                         Janet C. Hall
                                         United States District Judge




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